          Case 18-32761-jal                  Doc       Filed 01/31/20          Entered 01/31/20 15:15:56                     Page 1 of 9
 Fill in this information to identify the case:

 Debtor 1              Jessica K West
                       _______________________BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


 Debtor 2               _____________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Western District      of __________
                                                          of Kentucky
                                                      District

 Case number            18-32761
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   First Guaranty Mortgage Corporation
 Name of creditor:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB___                             Court claim no. (if known): 18
                                                                                                                    _____________________


 Last 4 digits of any number you use to                                                Date of payment change:
 identify the debtor’s account:                          ____ 4 ____
                                                         8 ____  0 ____
                                                                     3                 Must be at least 21 days after date       04/01/2020
                                                                                                                                 _____________
                                                                                       of this notice


                                                                                       New total payment:                              1,922.08
                                                                                                                                 $ ____________
                                                                                       Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    585.87
                   Current escrow payment: $ _______________                      New escrow payment:                      598.71
                                                                                                                 $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:        _______________%                 New interest rate:             _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
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Debtor 1         Jessica    K West                   
                 _______________________________________________________                                           18-32761
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ LeAnn E. Covey
     _____________________________________________________________
     Signature
                                                                                               Date    01/31/2020
                                                                                                       ___________________




 Print:             LeAnn E Covey
                    _________________________________________________________                  Title   Attorney  for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Clunk, Hoose Co., LPA
                    _________________________________________________________



 Address            4500 Courthouse Blvd., Suite 400
                    _________________________________________________________
                    Number                 Street

                    Stow                             OH      44224
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      330-436-0300
                    ________________________                                                   Email bknotice@clunkhoose.com
                                                                                                     ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
 Case 18-32761-jal        Doc   Filed 01/31/20    Entered 01/31/20 15:15:56   Page 3 of 9




                                CERTIFICATE OF SERVICE

      I hereby certify that on -DQXDU\, a copy of Notice of Mortgage Payment Change
was served on the following registered ECF participants, electronically through the court’s
ECF System at the email address registered with the court:

Richard A. Schwartz

William W Lawrence

Office of the U.S. Trustee


and on the following by ordinary U.S. mail addressed to:


Jessica K West
5323 Craigs Creek Drive
Louisville, KY 40241




                                                 /S/ LeAnn E. Covey
                                                 LeAnn E. Covey, Esquire
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                  P.O. Box 55004                     ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
                  Suite 100
                  Irvine, CA 92619

                  www.rushmorelm.com




  FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN
  DISCHARGED IN BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS
  NOT AN ATTEMPT TO COLLECT A DEBT. PLEASE NOTE THAT EVEN IF YOUR DEBT
  HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO LONGER PERSONALLY
  LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAY,
  PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.


  IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN
  THAT YOU ARE ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS
  WAS CALCULATED BASED ON AN ASSUMPTION THAT THE ACCOUNT IS CURRENT
  ACCORDING TO THE TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST. IF THE
  ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS MAY NOT
  REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY
  PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS
  $50 OR GREATER, THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED
  THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
  TRUST.

  *If there is an amount listed in the “Actual” column under Payments To Escrow Account on
  Page 2 above, then this is the assumption that was made and indicates the amount that
  would have been paid into escrow for a contractually current loan. This number does not
  represent payments that were actually made by you. As discussed above, these escrow
  calculations are calculated based on an assumption that the account would be current
  according to the terms of the note and mortgage/deed of trust.
